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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

The State of Texas, et al.,

                         Plaintiffs,                            Case No. 4:20-cv-00957-SDJ

v.                                                              Hon. Sean D. Jordan

Google LLC,

                         Defendants.


                DEFENDANT GOOGLE LLC’S MOTION TO BIFURCATE
              THE LIABILITY FINDING FROM ASSESSMENT OF PENALTIES

          Google respectfully files this Motion to Bifurcate the Liability Finding From Assessment

of Penalties. As demonstrated below, a further bifurcation of the trial under Rule 42(b) is warranted

to ensure the jury’s decision on liability is not overwhelmed, and Google is not unfairly prejudiced,

by evidence that is relevant only to the determination of DTPA penalty awards, if liability is found.

     I.   Standards Applicable to Motions to Bifurcate

          Federal Rule of Civil Procedure 42 affords a trial court discretion to bifurcate issues at trial

to vitiate potential prejudice.

          This Court discussed the relevant standards and ordered bifurcation in Wagoneka v. KT &

G USA Corp., 2020 WL 6063096 (E.D. Tex. Oct. 14, 2020). “Rule 42(b) allows a court to bifurcate

the trial of issues ‘for convenience, to avoid prejudice, or to expedite and economize.’” Id. at * 2

(citing Fed. R. Civ. P. 42(b)). “To avoid prejudice, courts will often bifurcate claims so that the

presentation of punitive-damages evidence occurs only after the jury has determined liability.” Id.

(citing O’Malley v. U.S. Fidelity & Guar. Co., 776 F.2d 494, 500-01 (5th Cir. 1985) and State

Farm Fire & Cas. Co. v. Woods, 896 F.Supp. 658, 660 (E.D. Tex. 1995) (“[b]ifurcation [of

punitive damages] is the wisest course” when opposing party has “not identified any prejudice that
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will come to him from bifurcation” and moving party “has made convincing assertions of

prejudice”) and Dubea v. Simpson, No. 9:07-CV-63-TH, 2009 WL 10677421, at *1 (E.D. Tex.

Mar. 2, 2009) (“[T]he Court finds that evidence of [defendant’s] net worth is relevant to the issue

of exemplary damages. But, given the aforementioned risk of…prejudice to [defendant], the Court

will bifurcate the issue of exemplary damages from the liability portion of the trial.”)).

       The Supreme Court’s concerns about the prejudicial effect of evidence relevant only to

punitive damages apply with equal force in cases involving civil penalties. See, e.g., Cooper Indus.

v. Leatherman Tool Grp., 532 U.S. 424, 433-34 (2001) (“Despite the broad discretion that States

possess with respect to the imposition of criminal penalties and punitive damages, the Due Process

Clause of the Fourteenth Amendment to the Federal Constitution imposes substantive limits on

that discretion. That Clause makes the Eighth Amendment's prohibition against excessive fines

and cruel and unusual punishments applicable to the States.”) (emphasis added); see also United

States v. Bajakajian, 524 U.S. 321, 324 (1998) (Excessive Fines clause precluded punitive

forfeiture that was grossly disproportionate); Hudson v. United States, 522 U.S. 93, 103 (1997)

(“The Eighth Amendment protects against excessive civil fines, including forfeitures.”). The Due

Process Clause “of its own force also prohibits the States from imposing grossly excessive

punishments on tortfeasors.” Cooper Indus., 532 U.S. at 434 (internal quotations omitted)

(emphasis added).

       As demonstrated below, each of these principles strongly supports entry of an order

bifurcating the jury’s decision on liability from any consideration of the number of violations or

the amount of any penalties.




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 II.Bifurcation is Necessary to Prevent Unfair Prejudice to Google

        None of the Plaintiff States’ liability claims requires or permits the jury to consider

Google’s net worth, total revenues, or wealth as a component of determining liability. This, alone,

warrants bifurcation. Separating the jury’s decision on liability from any issue related to penalties

mitigates the risk that evidence of Google’s wealth, total revenues, and net worth–evidence that is

relevant only to issues related to penalties–will taint the jury’s assessment of liability.

            A. No component of liability turns on Google’s net worth or wealth

        The DTPA statutes at issue in Count VI of the States’ Fourth Amended Complaint do not

encompass–nor does any state plead–an element of net worth or wealth as a basis for liability. See

In re Google Digital Advert. Antitrust Litig., 1:21-md-03010-PKC, ECF No. 541, Count VI(1)-

(17) (citing each state’s deceptive trade practice and consumer protection statutes). The sections

of the Texas DTPA pleaded by Texas at the Fourth Amended Complaint ¶¶ 674-678 (citing DTPA

§17.46(b)(5), (b)(7), (b)(9), (b)(12), and (b)(24)) do not require proof of a defendant’s net worth

or wealth as a required element of any claim, nor do any other States’ statutes require such proof.

The State DTPA statutes likewise do not require evidence or a finding of revenue earned to

establish any element of liability. See, e.g., id. The federal antitrust claims asserted in Counts I-III

and the Supplemental State Law Antitrust Claims pleaded in Count V(1)-(17) do not require such

proof, either.

        In short, each of the statutes at issue in the Complaint inquires only into a defendant’s

actions. None permits or requires an offer of net worth or wealth as an element relevant to liability.

Because no element of liability for Plaintiffs’ claims is established or proved by pointing to

evidence of Google’s net worth, wealth, or total revenues, Plaintiffs will suffer no prejudice if the

jury is required to find liability only on the evidence of Google’s actions, without presentation of



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evidence of the number or value of alleged penalties, or Google’s wealth, net worth, or total

revenues.

             B. This Court’s decision in Wagoneka confirms bifurcation is the wisest course

        In Wagoneka, this Court ordered bifurcation of liability and damages finding it was the

“the wisest course” to prevent unfair prejudice to the defendant. See Wagoneka, 2020 WL 6063096

at *2. As the Court explained, “[b]ecause Wagoneka no longer needs to present revenue evidence

at the liability stage, bifurcation would now alleviate KT&G USA’s prejudice concerns.” Id. The

same is true here. As explained above, no element of liability is established through proof of

Google’s net worth, wealth, or revenues. Bifurcation therefore makes sense here, for all the reasons

the Court cited in Wagoneka. And, as explained below, the risk of prejudice from the admission

of net worth, wealth, and revenue evidence risks confusing the jury and will prejudice Google’s

right to a fair trial.

                         1. Admission at the liability phase of evidence related to the calculation of
                            penalties could profoundly prejudice Google’s right to a fair trial of
                            liability

        In contrast to the liability elements of Plaintiffs’ claims, some states’ DTPA penalty

provisions suggest a defendant’s net worth is a factor that may be considered in assessing the

appropriate penalty for a DTPA violation, if one is found. See, e.g., Tex. Bus. & Com. Code

§17.47(c) (upon proof of entitlement to injunctive relief, “the consumer protection division may

request, and the trier of fact may award, a civil penalty to be paid to the state in an amount of: (1)

not more than $10,000 per violation”) and §17.47(g) (“In determining the amount of penalty

imposed under Subsection (c), the trier of fact shall consider…(3) the amount necessary to deter

future violations; (4) the economic effect on the person against whom the penalty is to be assessed;

and…(6) any other matter that justice may require.”) (emphasis added); see also, e.g., Transp. Ins.



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Co. v. Moriel, 879 S.W.2d 10, 29 (Tex. 1994) (holding that net worth evidence is relevant to

determine amount of punitive damages necessary to punish and deter wrongful conduct because

“[t]hat which could be an enormous penalty to one may be but a mere annoyance to another”).

       The statutory disconnect between how liability is proved and the possibility that net worth

evidence might be admissible on penalties creates an obvious risk the jury might misapply

evidence relevant only to penalties to their assessment of liability. That some states’ statutes may

permit consideration of a defendant’s net worth to establish an appropriate penalty to be paid to

the state’s own treasury (and not to any injured persons) upon proof of liability compounds this

risk of prejudice. The United States Supreme Court has emphasized repeatedly that evidence in

support of punitive damages may taint, irretrievably, a jury’s consideration of liability:

       [P]unitive damages pose an acute danger of arbitrary deprivation of property. Jury
       instructions typically leave the jury with wide discretion in choosing amounts, and
       the presentation of evidence of a defendant’s net worth creates the potential that
       juries will use their verdicts to express biases against big businesses, particularly
       those without strong local presences.

State Farm Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 417 (2003) (quoting Honda Motor Cor.,

Ltd. v. Oberg, 512 U.S. 415, 432 (1994)) (quoted in Wagoneka, 2002 WL 6063096 at *1)

(emphasis added). The risk this prejudicial net worth and financial evidence might overwhelm the

jury’s decision on liability raises separate, but equally profound, constitutional concerns under the

Excessive Fines Clause and the Due Process Clause. See Timbs v. Indiana, 586 U.S. 146, 150

(2019) (Excessive Fines Clause incorporated against the States by the Fourteenth Amendment

because the “[p]rotection against excessive punitive economic sanctions secured by the Clause

is…both ‘fundamental to our scheme of ordered liberty’ and ‘deeply rooted in this Nation’s history

and tradition.’”) (quoting McDonald v. Chicago, 561 U.S. 742, 767 (2010)).




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       Here, Plaintiffs’ penalty demands and the evidence they intend to offer implicate both

constitutional provisions. Plaintiffs’ approach to the assessment of penalties focuses on Google’s

size, wealth, and net worth, without regard to any evidence of harm. See, e.g., Dkt. #613-2 (Rpt.

of Pls.’ Expert J. Andrien) §§ IV.A, IV.B, IV.I; Dkt. #613-9 (Rebuttal Rpt. of Pls.’ Expert J.

Andrien) §§ III.B, IV.B. In fact, many of the Plaintiffs admit they have no evidence of specific

harm to anyone in their state from Google’s alleged practices. 1 Plaintiffs thus intend to urge that

penalties be imposed on Google measured not by any harm it allegedly caused but rather based on

Google’s size and net worth, arguing this is a necessary “deterrent.”

       Plaintiffs have recently submitted expert reports 2 that demonstrate the serious risk of

allowing Plaintiffs to offer evidence related to penalties and penalty amounts before the jury first

decides liability. None of Plaintiffs’ expert reports quantifies any identified harm caused to even

one individual ad buyer or ad seller. Instead, Plaintiffs’ witnesses offer what amounts to an ipse

dixit, attempting to tell the jury the penalty amount they believe the jury should assess based on

Google’s size rather than quantifying the number of violations, tying penalties to the number of

violations, or demonstrating they are proportional to any harm Google actually caused. Plaintiffs’

expert reports are plain about another point: the sums they advocate do not depend in any way on

the number of violations the States may eventually prove at trial. To the contrary, at least two of


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  See e.g., Tr. Alaska Rule 30(b)(6) Witness at 33:8-11 (Alaska received no complaints about
Google’s actions), id. at 40:17-23(“I’m not in a position to be able to answer one way or another
whether there actually are specific documents that may touch upon harm that Alaskans have
suffered…I just don’t know the answer.”); id. at 42: 18-22 (“I have not and the State of Alaska has
not talked to a specific advertiser based in Alaska or specific publisher based in Alaska. As part of
our investigation, we have not done that.”).
2
 The public disclosure of Plaintiffs’ potentially inadmissible and likely unconstitutional penalty
calculations risks prejudicing the entire venire. Google thus does not state here the specific
amounts these experts have asserted they intend to argue the jury should award; rather, Google is
prepared to discuss those issues in camera at a Status Conference, if the Court sets one.

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Plaintiffs’ experts have calculated the penalties they assert based on the total number of

transactions, without establishing that any specific transaction actually violated the law, after

which they set their putative “penalty” sums at an amount they contend is necessary to deter

Google—a total they admit is independent of and unaltered by proof of any lower number of

violations or any proof of harm at all. 3

        Plaintiffs’ invitation that the jury should “use their verdicts to express biases against big

business,” State Farm, 538 U.S. at 417, by arguing the jury should punish Google for its success,

size, and scale without regard to any harm Google actually caused or the number of violations it

actually committed raises serious Constitutional concerns and magnifies the risk of prejudice.

Bifurcation, as this Court observed in Wagoneka, is the wisest course to prevent both.

                    2. Jury instructions will not cure this prejudice

        The Supreme Court has also held that the prejudicial admission of penalty evidence at the

liability phase cannot be remedied or eliminated by jury instructions. “Vague instructions, or those

that merely inform the jury to avoid ‘passion or prejudice’…do little to aid the decisionmaker in

its task of assigning appropriate weight to evidence that is relevant and evidence that is tangential

or only inflammatory.” State Farm, 538 U.S. at 418 (quoted in Wagoneka, 2020 WL 6063096 at

*1). Accordingly, as in Wagoneka, bifurcation is the preferred course to ensure the trial of liability




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  Other aspects of the putative penalty demands are equally problematic. For instance, to assert the
jury should structure a penalty based on what will cause loss to Google’s stockholders is not a
penalty any statute at issue authorizes. Nor is there any basis to inflict punishment on stockholders
for actions they did not take and that Plaintiffs have not shown deceived or caused harm to any
individual ad buyer or ad seller. Compare In re Zyprexa, 671 F.Supp.2d 397, 462-63 (E.D.N.Y.
2009) (“[E]lementary notions of fairness enshrined in our constitutional jurisprudence dictate that
a person receive fair notice not only of the conduct that will subject him to punishment, but also
of the severity of the penalty that a State may impose.”) (quoting State Farm Mut. Auto Ins. v.
Campbell, 538 U.S. 408, 416 (2003) and citing BMW of North America, Inc. v. Gore, 517 U.S.
559, 574 (1996)).
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proceeds fairly, on the evidence relevant to liability, before the jury hears any evidence relevant to

potential penalties.

                    3. State law does not control this bifurcation issue

         Anticipating the States’ response, it is no answer for the States to claim that the Texas

Legislature exempted the DTPA from the bifurcation requirements of Texas Civil Practices &

Remedies Code §41.009. “[A] district court is simply not bound by state law when deciding

whether to bifurcate.” Nester v. Textron, Inc., 888 F.3d 151, 163 (5th Cir. 2018). In this federal

court, bifurcation to prevent prejudice is within the Court’s “sole discretion” under Federal Rule

of Civil Procedure 42. First Texas Sav. Ass’n. v. Reliance Ins. Co., 950 F.2d 1171, 1174 (5th Cir.

1992).

         Here, the mandates of the Constitution require careful consideration of a bifurcation order

as the wisest course to protect Google from the obvious and serious risk of prejudice created by

the States’ intent to use net worth, wealth, and revenue evidence to incite anti-corporate bias, a

risk the Court should take steps to prevent to ensure Google receives a fair trial.

   III. Plaintiffs Are Not Prejudiced by Bifurcation, Nor Will Judicial Economy Be Served
        by a Trial that Includes Evidence Relevant to Only the Amount of Penalties at the
        Liability Phase

         Plaintiffs will suffer no prejudice, much less any unfair prejudice, if the determination of

the number of violations and the amount of any penalties to be awarded are bifurcated from the

jury’s decision on the only relevant liability question; namely, whether Google’s Ad Tech

practices and actions violated the federal and state antitrust laws or contravened any state

deceptive trade practice statutes. While the reports of Plaintiffs’ experts make obvious that




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Plaintiffs prefer to attack Google and its officers for their wealth at the liability phase, 4 that is no

reason to permit them to do so at trial. Google’s wealth is irrelevant to any liability issue.

        Bifurcating the decision on whether specific practices violated any statute–and considering

that issue separately from the number of violations or penalty amounts–will also serve judicial

economy. Trying liability first, through an initial phase focused solely on whether Google’s actions

and practices violated the relevant statutes, might well avoid the need to try any other issue. If

Google prevails on liability, weeks of unnecessary evidence related to Google’s wealth, its total

revenues, or the number of alleged violations of various statutes would be avoided, saving the jury,

the Court, and the parties time and costs. A “no” on whether a practice violated a statute avoids

the offer of cumulative and irrelevant evidence about the volume of transactions that did not violate

any statute, streamlining the trial. It will also limit the scope of expert testimony and mitigate the

risk of additional, unfair prejudice submitting penalty evidence about transactions for which the

jury has determined Google has no liability.

        In contrast, judicial economy or fairness will not be served if Plaintiffs are permitted to

subject Google to the irretrievable prejudice inherent in allowing Plaintiffs to urge the jury to find

Google liable because it is large or has made money. Wagoneka, 2020 WL 6063096 at *3 (“Given

that instructions warning juries to avoid ‘prejudice or passion’ do little to aid the decisionmaker in

this context and that Wagoneka has not articulated convincing countervailing concerns of

convenience or prejudice in bifurcating liability and damages, the Court concludes that bifurcation




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  Plaintiffs’ questioning during apex and other executive depositions confirmed Plaintiffs’ intended
emphasis on the personal wealth of Google executives. Plaintiffs spent hours inquiring into this
topic, even though it is irrelevant to Google’s liability for any claim. The fact that Plaintiffs’
counsel used these depositions for that purpose confirms the profound risk that permitting the use
of this and similar evidence of wealth at the liability phase will be irretrievably prejudicial to
Google’s right to a fair trial of liability.
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is the wisest course.”). No part of the statutes authorizes finding Google liable on that basis, and

requiring the jury to hear evidence about the volume of transactions that did not violate the statute

is irrelevant.

    IV. Conclusion

        For all these reasons, the Court should order a further bifurcation of the trial to mandate an

initial liability phase, in which the jury will decide only which, if any, of Google’s alleged practices

violated the relevant statutes. Evidence of the number of violations, including the total revenues

Google allegedly earned, as well as evidence of Google’s net worth and wealth, is not relevant to

any issue of liability so the Court should order bifurcation, pursuant to Rule 42(b), to ensure that

all such evidence is admitted (if at all) only during any required penalty phase of the trial.

Dated: October 17, 2024                         Respectfully submitted,


                                                GIBBS & BRUNS LLP

                                                 /s/ Kathy D. Patrick
                                                Kathy D. Patrick
                                                Texas Bar No. 15581400
                                                kpatrick@gibbsbruns.com
                                                Robin C. Gibbs
                                                Texas Bar No. 07853000
                                                rgibbs@gibbsbruns.com
                                                Charles Rosson
                                                Texas Bar No. 24074985
                                                crosson@gibbsbruns.com
                                                1100 Louisiana, Suite 5300
                                                Houston, Texas 77002

                                                1100 Louisiana, Suite 5300
                                                Houston, Texas 77002
                                                Tel.: 713.650.8805
                                                Fax.: 713.750-0903




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                                   Eric Mahr (pro hac vice)
                                   Julie S. Elmer (pro hac vice)
                                   FRESHFIELDS BRUCKHAUS DERINGER LLP
                                   700 13th Street NW, 10th Floor
                                   Washington, D.C. 20005
                                   (202) 777-4545
                                   eric.mahr@freshfields.com
                                   julie.elmer@freshfields.com

                                   Daniel S. Bitton (pro hac vice)
                                   AXINN, VELTROP & HARKRIDER LLP
                                   55 Second Street
                                   San Francisco, CA 94105
                                   (415) 490-1486
                                   dbitton@axinn.com

                                   Bradley Justus (pro hac vice)
                                   James K. Hunsberger (pro hac vice)
                                   David R. Pearl (pro hac vice)
                                   AXINN, VELTROP & HARKRIDER LLP
                                   1901 L Street NW
                                   Washington, DC 20036
                                   (202)912-4700
                                   bjustus@axinn.com
                                   jhunsberger@axinn.com
                                   dpearl@axinn.com

                                   ATTORNEYS FOR
                                   DEFENDANT GOOGLE LLC




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                                 CERTIFICATE OF SERVICE

       I certify that on October 17, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and thus served on all counsel who have consented to electronic service.

                                                              /s/ Kathy Patrick
                                                              Kathy Patrick

                             CERTIFICATE OF CONFERENCE

        I certify that, in compliance with Local Rule CV-7(h), counsel for Defendant conferred in
good faith with counsel for Plaintiffs via a Zoom conference on October 16, 2025, attended by
Kathy Patrick, Rob McCallum, and Constance Forkner for Defendant Google, and attended by
Mark Lanier, Mark Collier, Ashley Keller, Noah Heinz, and Zeke DeRose, counsel for Plaintiffs.
The parties discussed the legal basis for the motion, including Google’s concern about the
prejudicial effect of offering net worth, wealth, and revenue evidence to the jury during a liability
phase, given that this evidence was not relevant to any liability issues, as well as this Court’s
decision in Wagoneka. Plaintiffs stated that they did not agree further bifurcation was appropriate
and declined to agree to the relief requested. Accordingly, both parties agree they are at an impasse
on the question of further bifurcation, such that a decision by the Court is required to resolve the
matter.

                                                              /s/ Kathy Patrick
                                                              Kathy Patrick




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